             Case 1:18-cv-09936-LGS Document 306 Filed 05/04/21 Page 1 of 3
                                        RAJ K. PATEL
              1239 Spring Lake Drive, Brownsburg, IN 46112 | (m) 317-450-6651 | rajp2010@gmail.com
                                         www.linkedin.com/in/rpatel1992

May 4, 2021

Hon. Lorna Schofield, Judge
c/o Clerk of Court
500 Pearl Street
New York, NY 10007
No.: 1:18-cv-09936-LGS

RE: Update about United States Supreme Court Matter, No. 20-1513 (U.S.).


Your Honor:

       On April 28, 2021, the United States Supreme Court docketed Doe v. The Trump Corp et al., No.
1:18-cv-09936-LGS (S.D.N.Y. 20__), appeal denied No. 20-1706 (2d Cir. 2020).

      The case-at-hand has been re-named and re-numbered to Patel v. The Trump Corp. et al., No.
20-1513 (U.S. 202_). The United States Supreme Court has set a response deadline of May 28, 2021.

       I look forward to further proceedings.


Sincerely,




/s/ Raj Patel, J.D. Candidate, Notre Dame L. Sch. ‘21 or ‘22
• President/Student Body President, Student Gov’t Ass’n of Emory U., Inc. 13-14
• Student Body President, Brownsburg Cmty. Sch. Corp./President, Brownsburg High Sch. Student
Gov’t 09-10
• Rep. from the Notre Dame L. Sch. Student B. Ass’n to the Ind. St. B. Ass’n 17 (he/they/their)
             Case 1:18-cv-09936-LGS Document 306 Filed 05/04/21 Page 2 of 3

                                      CERTIFICATE OF SERVICE

I, Raj K. Patel, certify that I filed the preceding letter by e-mail, and I certify that I provided notice of
filing to all counsel of record listed below by e-mail:

Mark Henriques
WOMBLE BOND DICKINSON (US) LLP                              Anne Archer Butcher
3500 One Wells Fargo Center                                 ARKIN SOLBAKKEN LLP
301 S. College Street                                       c/o Deanna Davidian
Charlotte, NC 28202                                         900 Third Avenue, 18th Floor
Telephone: (704)-331-4912                                   New York, New York 10022
Fax: (704)-338-7830                                         ddavidian@arkin-law.com
mark.henriques@wbd-us.com
                                                            Dolphin Entertainment Company
Jessica Stebbins Bina                                       ARKIN SOLBAKKEN LLP
LATHAM & WATKINS LLP                                        c/o Deanna Davidian
10250 Constellation Blvd., Suite 1100                       900 Third Avenue, 18th Floor
Los Angeles, CA 90067                                       New York, New York 10022
Telephone: (424)-653-5500                                   ddavidian@arkin-law.com
Fax: (424)-653-5500
jessica.stebbinsbina@lw.com                                 Andrew G. Celli, Jr., Esq.
                                                            Matthew D. Brinckerhoff, Esq.
Stephanie E. Neihaus, Esq.                                  Ogilvie Andrew Fraser Wilson, Esq.
SQUIRE PATTON BOGGS LLP                                     Katherine Rosenfeld, Esq.
1121 Avenue of the Americas                                 Jonathan S. Abady, Esq.
Ste 26th Floor                                              David B. Berman, Esq.
New York, NY 10036                                          Nicholas Bourland, Esq.
+1 212 872 9800                                             EMERY CELLI BRINCKERHOFF & ABADY
stephanie.neihaus@squirepb.com                              LLP
                                                            600 Fifth Avenue at Rockefeller Center
Roberta A. Kaplan, Esq.                                     New York, NY 10020
John C. Quinn, Esq.                                         Telephone: (212) 763-5000
Alexander J. Rodney, Esq.                                   acelli@ecbalaw.com
Benjamin White, Esq.                                        mbrinckerhoff@ecbalaw.com
Emily C. Cole, Esq.                                         awilson@ecbalaw.com
Matthew J. Craig, Esq.                                      krosenfeld@ecbalaw.com
KAPLAN HECKER & FINK LLP                                    jabady@ecbalaw.com
350 5th Avenue, Suite 7110                                  dberman@ecbalaw.com
New York, NY 10118                                          nbourland@ecbalaw.com
Telephone: (212) 763-0883
Facsimile: (212) 564-0883                                   Joanna C. Hendon
rkaplan@kaplanhecker.com                                    ALSTON & BIRD LLP
jguinn@kaplanhecker.com                                     90 Park Avenue, 15th Floor
arodney@kaplanhecker.com                                    New York, NY 10016-1387
bwhite@kaplanhecker.com                                     Telephone: 212-210-1244
ecole@kaplanhecker.com                                      joanna.hendon@alston.com
mcraig@kaplanhecker.com



Dated: May 4, 2021
k
    Case 1:18-cv-09936-LGS Document 306 Filed 05/04/21 Page 3 of 3



                                   Respectfully submitted,



                                   Raj K. Patel
                                   1239 Spring Lake Drive
                                   Brownsburg, IN 46112
                                   Hendricks County
                                   317-450-6651 (cell)
                                   rajp2010@gmail.com
                                   raj@rajpatel.live

                                   Pro se


                                   J.D. Candidate, Notre Dame L. Sch. 2021 or 2022
                                   President/Student Body President, Student Gov’t
                                          Ass’n of Emory U., Inc. 2013-2014
                                   Student Body President, Brownsburg Cmty. Sch.
                                          Corp./President, Brownsburg High Sch.
                                          Student Gov’t 2009-2010
                                   Rep. from the Notre Dame L. Sch. Student B. Ass’n
                                          to the Ind. St. B. Ass’n 2017
                                   Deputy Regional Director, Young Democrats of
                                          Am.-High Sch. Caucus 2008-2009
                                   Co-Founder & Vice Chair, Ind. High Sch.
                                          Democrats 2009-2010
                                   Vice President of Fin. (Indep.), Oxford C.
                                          Republicans of Emory U., Inc. 2011-2012




k
